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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 JOSEPH MICHAEL PHILLIPS,                            §
                                                     §
                     Plaintiff,                      §
                                                     §
 v.                                                  §       Civil Action No.: 4-22-cv-184
                                                     §
 COLLIN COMMUNITY COLLEGE                            §        JURY TRIAL DEMANDED
 DISTRICT, a political subdivision of the            §
 State of Texas; BOARD OF TRUSTEES OF                §
 COLLIN COMMUNITY COLLEGE, a                         §
 political subdivision of the State of Texas; H.     §
 NEIL MATKIN, in his individual and                  §
 official capacities as President of Collin          §
 College; ABE JOHNSON, in his individual             §
 and official capacities as Senior Vice              §
 President of campus Operations of Collin            §
 College; MARY BARNES-TILLEY, in her                 §
 individual and official capacities as Provost       §
 of Collin College; KRISTEN STREATER, in             §
 her individual and official capacities as Dean      §
 of Collin College; and CHAELLE O’QUIN,              §
 in her individual and official capacities as        §
 Associate Dean of Academic Affairs of Collin        §
 College.                                            §
                                                     §
                   Defendants.                       §

                     JOINT REPORT OF ATTORNEY CONFERENCE

       Plaintiff Joseph Michael Phillips (“Plaintiff”) and Defendants Collin County Community

College District, the Board of Trustees of Collin County Community College District, H. Neil

Matkin, in his individual and official capacities as President of Collin College, Abe Johnson, in

his individual and official capacities as Senior Vice President of Campus Operations of Collin

College, Mary Barnes-Tilley, in her individual and official capacities as Provost of Collin College,

Kristen Streater, in her individual and official capacities as Dean of Collin College, and Chaelle

O’Quin, in her individual and official capacities as Associate Dean of Academic Affairs of Collin


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College (collectively, “Defendants”), having conferred on July 12, 2022, pursuant to Federal Rule

of Civil Procedure 26(f) and this Court’s Order Governing Proceedings [Dkt. 30], hereby submit

the following Joint Report of Attorney Conference:

1.      Brief Factual and Legal Synopsis of the Case.

        Plaintiff’s Contentions:

        Plaintiff Michael Phillips began his career as a history professor at Collin College in 2007,

specializing in the history of American race relations, especially in the Dallas area. In 2019,

Phillips granted an interview to the Washington Post about the history of racism in the Dallas area.

Defendants disciplined Phillips for granting this interview by issuing an Employee Coaching

Form. In 2020, Defendants disciplined Phillips for criticizing Collin College’s response to the

COVID-19 pandemic on his personal social media, and again in 2021 for discussing the benefits

of mask-wearing in a class about the history of pandemics.

        Defendants cited Phillips’s failure to bring his complaints through the “proper channels”

as the reason for his discipline. Ultimately, Defendants did not issue Phillips a renewal of his three-

year employment contract, ending his employment at Collin College. Defendants terminated

Phillips’s contract despite the recommendation of the Council of Excellence—a faculty committee

organized by Collin College to assist faculty applying for new contracts and evaluate their

performance—that Collin College grant Phillips a new contract.

        Defendants terminated Phillips’s employment for speaking to the Washington Post about

his area of expertise, criticizing COVID-19 response policies on his personal social media, and

discussing pedagogically-relevant material with his students—each of which is speech protected

by the First Amendment. In terminating Phillips, Defendants also relied on a vague and overbroad

policies.



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       Defendants’ Contentions:

       The Board of Trustees of Collin County Community College District contends that it did

not violate any of the Plaintiff’s constitutional rights, impinge upon his First Amendment

protections, nor engage in any conduct for which they could be liable herein. The Board of

Trustees has a clear written BOARD POLICY MANUAL which comports with the Texas Community

College Teachers Association (TCCTA) CODE OF PROFESSIONAL ETHICS and is consistent with

other policies of other similarly situated Community College Districts in Texas.             Further,

Defendants would have taken the actions complained about in Plaintiff’s Complaint regardless of

the Plaintiff’s alleged protected speech or conduct. Moreover, any claims seeking relief for conduct

occurring more than two years before Plaintiff filed this suit are barred by limitations. Regarding

alleged damages, Plaintiff has failed to mitigate his alleged damages, if any, and Plaintiff’s back

pay, if any, must be reduced by any interim earnings or amounts earnable with reasonable

diligence. Finally, Plaintiff’s claims for equitable relief should be barred, in whole or in part, due

to his own inequitable conduct.

       Defendants Collin College and the individual Defendants in their individual and official

capacities adopt the Board of Trustees’ contentions above. In addition, the individual Defendants

in their individual capacities assert the defense of qualified immunity.

2.     Jurisdictional Basis for Suit.

       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331. However, the

individual Defendants contend the Court should dismiss Plaintiff’s claims against them in their

individual capacities because they have qualified immunity, which is an immunity from suit.

       Plaintiff disagrees with Defendants’ position regarding qualified immunity and contends

the court has jurisdiction to hear Plaintiff’s claims.



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3.    A list of the correct names of the parties to this action and any anticipated additional
      or potential parties.

      Joseph Michael Phillips – Plaintiff

      Collin County Community College District, legally known as Collin College – Defendant

      Board of Trustees of Collin County Community College District – Defendant

      H. Neil Matkin, in his individual and official capacities as President of Collin College –
      Defendant

      Abe Johnson, in his individual and official capacities as Senior Vice President of Campus
      Operations of Collin College – Defendant

      Mary Barnes-Tilley, in her individual and official capacities as Provost of Collin College
      – Defendant

      Kristen Streater, in her individual and official capacities as Dean of Collin College –
      Defendant

      Chaelle O’Quin, in her individual and official capacities as Associate Dean of Academic
      Affairs of Collin College – Defendant

4.    A list of any cases related to this case pending in any state or federal court, identifying
      the case numbers and courts along with an explanation of the status of those cases.

      Plaintiff calls the Court’s attention to Jones v. Matkin, et al., No. 4:21-cv-733 (E.D. Tex.)
      – Currently awaiting decision on Defendants’ Motion to Stay and/or Limit Discovery [ECF
      No. 8] and Motion for Summary Judgment on Qualified Immunity [ECF No. 9]. However,
      Defendants do not believe the Jones case has any relation or relevance to this case.

5.    Confirm that initial mandatory disclosure required by Rule 26(a)(1) and this orders
      has been completed.

      Defendants served their Initial Mandatory Disclosures on or before July 25, 2022.

      Plaintiff served his Initial Mandatory Disclosures on or before July 25, 2022.

6.    Proposed Scheduling Order Deadlines.

      See attached Appendix 1 for the parties’ proposed case deadlines.

7.    Describe in accordance with Rule 26(f):




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         (i)   The subjects on which discovery may be needed, when discovery should be
               completed, and whether discovery should be conducted in phases or be limited
               to or focused on particular issues.

       The Defendants who are being sued in their individual capacities intend, as soon as

practical, on filing motions to dismiss based on qualified immunity. Based on the recent Fifth

Circuit holding in Carswell v. Camp, 2022 U.S. App. Lexis 16901 (5th Cir. June 17, 2022), all

discovery in this case will then likely be stayed pending the resolution of qualified immunity

which, in turn, will likely require the eventual extension of the discovery period and other

scheduling deadlines. Further, if all discovery is not stayed pursuant to Carswell, the individual

Defendants then intend on requesting the Court to limit discovery to those materials necessary to

decide the issue of qualified immunity. See Local Rule CV-26(a).

       Plaintiff agrees that Carswell does require district courts to stay some discovery pending

the resolution of the qualified immunity issue. Plaintiff further agrees that any stay of discovery

will require extensions of the proposed discovery period. However, Plaintiff does not believe that

Carswell requires district courts to automatically stay written discovery against non-qualified

immune parties (such as Defendants Collin College, the Board of Trustees, and the official-

capacity defendants) when a plaintiff seeks prospective injunctive relief against those parties,

which is the case here. Plaintiff would welcome the opportunity to discuss the impact of Carswell

at the Rule 16 management conference.

       Subject to the above statement, Plaintiff anticipates discovery will be needed on (1) the

elements of Plaintiff’s claims; (2) the reason for Defendants’ discipline of Plaintiff; (3) the reason

for Defendants’ termination of Plaintiff’s employment; Defendants’ policy and practice of

terminating faculty members for speaking on matters of public concern; and (5) the damages

Plaintiff has incurred as a result of his termination.



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       Subject to the above statement, Defendants anticipate discovery will be needed on the

allegations in Plaintiff’s Complaint, Plaintiff’s alleged damages, and Plaintiff’s mitigation of his

alleged damages.

        (ii)   Any issues relating to disclosure or discovery electronically stored information
               (“ESI”), including the form or forms in which it should be produced (whether
               native or some other reasonably usable format) as well as any methodologies
               for identifying or culling the relevant and discoverable ESI. Any disputes
               regarding ESI that counsel for the parties are unable to resolve during
               conference must be identified in the report.

       None currently.

       (iii)   Any agreements or disputes relating to asserting claims of privilege or
               preserving discoverable information, including electronically stored
               information and any agreements reached under Federal Rule Evidence 502
               (such as the potential need for a protective order and any procedures to which
               the parties might agree for handling inadvertent production of privileged
               information and other privilege waiver issues). A party asserting that any
               information is confidential should immediately apply to the Court entry of a
               protective order.

       The parties do not anticipate that a proposed order pursuant to Federal Rule of Evidence

502 is required at this time.

        (iv)   Any changes that should be made in the limitations on discovery imposed by
               the Rules, whether federal or local, and any other limitations that should be
               imposed, as well as.

       The Defendants being sued in their individual capacities intend, as soon as practical, on

filing motions to dismiss based on qualified immunity. Based on the recent Fifth Circuit holding

in Carswell v. Camp, 2022 U.S. App. Lexis 16901 (5th Cir. June 17, 2022), all discovery in this

case will then likely be stayed pending the resolution of qualified immunity which, in turn, will

likely require the eventual extension of the discovery period and other scheduling deadlines.

Further, if all discovery is not stayed pursuant to Carswell, the individual Defendants then intend




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on requesting the Court to limit discovery to those materials necessary to decide the issue of

qualified immunity. See Local Rule CV-26(a).

       As noted above, Plaintiff agrees that Carswell does require district courts to stay some

discovery pending the resolution of the qualified immunity issue. Plaintiff further agrees that any

stay of discovery will require extensions of the proposed discovery period. However, Plaintiff does

not believe that Carswell requires district courts to automatically stay written discovery against

non-qualified immune parties (such as Defendants Collin College, the Board of Trustees, and the

official-capacity defendants) when a plaintiff seeks prospective injunctive relief against those

parties, which is the case here.

        (v)     Whether any other order should be entered by the Court pursuant to Federal
                Rule of Civil Procedure 26(c) or 16(b), (c).

       The Defendants being sued in their individual capacities intend, as soon as practical, on

filing motions to dismiss based on qualified immunity. Based on the recent Fifth Circuit holding

in Carswell v. Camp, 2022 U.S. App. Lexis 16901 (5th Cir. June 17, 2022), all discovery in this

case will then likely be stayed pending the resolution of qualified immunity which, in turn, will

likely require the eventual extension of the discovery period and other scheduling deadlines.

Further, if all discovery is not stayed pursuant to Carswell, the individual Defendants then intend

on requesting the Court to limit discovery to those materials necessary to decide the issue of

qualified immunity. See Local Rule CV-26(a).

8.     Mediation Details

       The parties have not yet attempted mediation. The parties agree mediation is an appropriate

ADR method for this lawsuit. The parties have agreed on Magistrate Judge Christine Nowak as

the mediator.




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9.     Identity of persons expected to be deposed.

       Plaintiff currently expects to depose a representative of Collin College under Fed. R. Civ.

Pro. 30(b)(6), H. Neil Matkin, Abe Johnson, Mary Barnes-Tilley, Kristen Streater, Chaelle

O’Quin, J. Robert Collins, and Stacey Donald.

       Defendants currently expect to depose Plaintiff, any experts identified by Plaintiff, and

third parties identified by Plaintiff as having knowledge of his allegations and damages.

10.    Estimated trial time and whether a jury demand has been timely made.

       The parties estimate the duration of the trial of this matter to be 3-5 days. Plaintiff has

timely made a jury demand.

11.    The names of the attorneys who will appear on behalf of the parties at the
       management conference (the appearing attorney must be an attorney of record and
       have full authority to bind the client).

       Attorney for Plaintiff:

       Greg Greubel
       Foundation for Individual Rights and Expression
       510 Walnut Street, Suite 1250
       Philadelphia, PA 19106
       Attorneys for All Defendants Except the Board of Trustees of Collin College:

       Charles J. Crawford
       Richard M. Abernathy
       Abernathy, Roeder, Boyd & Hullett, P.C.
       1700 Redbud Boulevard, Suite 300
       McKinney, Texas 75069-1210

       Attorney for Defendant Board of Trustees of Collin County College District:

       Robert J. Davis
       Matthews, Shiels, Knott, Eden, Davis & Beanland, LLP
       8131 LBJ Freeway, Suite 700
       Dallas, Texas 75251

12.    Whether the parties jointly consent to trial before a magistrate judge.

       The Parties do not consent to trial before a magistrate judge.


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13.    Any other matters that counsel deem appropriate for inclusion in the joint conference
       report or that deserve the special attention of the Court at the management
       conference.

       None currently known, although Defendants Motion For Judgment On The Pleadings

And/Or Motion To Dismiss For Failure To State A Clam [Dkt. 23] is ripe for determination.


Dated: July 28, 2022.


                                               Respectfully submitted,


                                               /s/Greg Greubel
                                               Greg Greubel
                                               PA Bar No. 321130; NJ Bar No. 171622015; CA
                                               Bar No. 343028
                                               Foundation for Individual Rights and Expression
                                               510 Walnut Street, Suite 1250
                                               Philadelphia, PA 19106
                                               Telephone: (215) 717-3473
                                               Greg.greubel@thefire.org

                                               Attorney for Plaintiff



                                               /s/ Charles J. Crawford
                                               Charles J. Crawford
                                               Texas Bar No. 05018900
                                               Richard M. Abernathy
                                               State Bar No. 00809500
                                               Abernathy, Roeder, Boyd & Hullett, P.C.
                                               1700 Redbud Boulevard, Suite 300
                                               McKinney, Texas 75069-1210
                                               Telephone: (214) 544-4000
                                               Facsimile: (214) 544-4040
                                               ccrawford@abernathy-law.com
                                               rabernathy@abernathy-law.com

                                               and

                                               /s/Robert J. Davis
                                               Robert J. Davis


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                                             State Bar No. 05543500
                                             Matthews, Shiels, Knott, Eden, Davis &
                                             Beanland, LLP
                                             8131 LBJ Freeway, Suite 700
                                             Dallas, Texas 75251
                                             Telephone: (972) 234-3400
                                             Facsimile: (972) 234-1750
                                             bdavis@msattorneys.com

                                             Attorneys for Defendants



                              CERTIFICATE OF SERVICE

      I hereby certify that on July 28, 2022, I filed the foregoing Joint Report of Attorney
Conference via the Court’s CM/ECF system.

                                             /s/Charles J. Crawford
                                             Charles J. Crawford




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                                                     Appendix 1

                           PROPOSED SCHEDULING ORDER DEADLINES

        The following actions shall be completed by the date indicated.1 (The times indicated are
the standard for most cases. Counsel should be prepared to explain the need for requested changes).

    August 19, 2022                              Deadline for motions to transfer
    (1 week after mgmt. conf.)

    September 23, 2022                           Deadline to add parties
    (6 weeks after mgmt. conf.)

    February 17, 2023                            Mediation must occur by this date.
    six weeks prior to mediation ddl             Deadline by which the parties shall notify the Court of the
                                                 name, address, and telephone number of the agreed-upon
                                                 mediator, or request that the Court select a mediator, if they
                                                 are unable to agree on one.

    October 21, 2022                             Disclosure of expert testimony pursuant to Fed. R. Civ. P.
    (10 weeks after mgmt. conf.)                 26(a)(2) and Local Rule CV-26(b) on issues for which the
                                                 party bears the burden of proof.

    November 4, 2022                             Deadline for Plaintiff to file amended pleading.
    (12 weeks after mgmt. conf.)                 (A motion for leave to amend is required.)

    November 18, 2022                            Disclosure of expert testimony pursuant to Fed. R. Civ. P.
    (14 weeks after mgmt. conf.)                 26(a)(2) and Local Rule CV-26(b) on issues for which the
                                                 party bears the burden of proof.

    November 18, 2022                            Deadline for Defendant’s final amended pleadings.
    (14 weeks after mgmt. conf.)                 (A motion for leave to amend is required.)

    6 weeks after disclosure of                  Deadline to object to any other party’s expert witnesses.
    an expert is made                            Objection shall be made as a motion to strike or limit expert
                                                 testimony and shall be accompanied by a copy of the
                                                 expert’s report in order to provide the Court with all the
                                                 information necessary to make a ruling on any objection

    February 10, 2023                   Deadline for motions to dismiss, motions for summary
    (14 weeks after mgmt. conf.         judgment, or other dispositive motions.
    but no later than 110 days prior to
    deadline for submission of Joint
    Final Pretrial Order)
1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.

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    January 27, 2023                             All discovery shall be commenced in time to be completed
    (24 weeks after mgmt. conf.)                 by this date.

    May 18, 2023                                 Notice of intent to offer certified records
    (6 weeks before final pretrial conf.)
    May 18, 2023                                 Counsel and unrepresented parties are each responsible for
    (6 weeks before final pretrial conf.)        contacting opposing counsel and unrepresented parties to
                                                 determine how they will prepare the Joint Final Pretrial
                                                 Order and Joint Proposed Jury Instructions and Verdict
                                                 Form (or Proposed Findings of Fact and Conclusions of
                                                 Law in non-jury cases).

    May 25, 2023                                 Deposition Designations due. Each Party who proposes to
    (5 weeks before final pretrial conf.)        offer a deposition shall serve on all other parties a
                                                 disclosure identifying the line and page numbers to be
                                                 offered. All other parties will have seven calendar days to
                                                 serve a response with any objections and requesting cross
                                                 examination line and page numbers to be included. Counsel
                                                 must consult on any objections, and only those which
                                                 cannot be resolved shall be presented to the Court. The
                                                 party who served an initial Video Deposition Designation is
                                                 responsible for preparation of the final edited video in
                                                 accordance with all parties’ designations and the Court’s
                                                 rulings on objections.

    May 30, 2023                                 Motions in limine due
    (30 days before final pretrial conf.)        File Joint Final Pretrial Order (See www.txed.uscourts.gov).

    June 15, 2023                                Response to motions in limine due2
    (2 weeks before final pretrial conf.)
                                                 File objections to witnesses, deposition extracts, and
                                                 exhibits, listed in pre-trial order.3 (This does not extend
                                                 deadline to object to expert witnesses.)
                                                 File Proposed Jury Instructions/Form of Verdict (or
                                                 Proposed Findings of Fact and Conclusions of Law)




2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the matter.
To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar days of the
filing of any response. The Parties shall notify the court of all the issues which are resolved.
3
 Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

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 Date will be set by Court.            If numerous objections are filed the court may set a hearing
 Usually within 10 days prior to final to consider all pending motions and objections.
 pretrial conf.

 June 29, 2023                         Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                       United States Courthouse located at 101 East Pecan Street
                                       in Sherman, Texas. All cases on the Court’s Final Pretrial
                                       Conference docket for this day have been set at 9:00 a.m.
                                       However, prior to the Final Pretrial Conference date, the
                                       Court will set a specific time between 9:00 a.m. and 4:00
                                       p.m. for each case depending on which cases remain on the
                                       Court’s docket.

 to be determined                      10:00 a.m. Jury selection and trial (or bench trial) at the
                                       Paul Brown United States Courthouse located at 101 East
                                       Pecan Street in Sherman, Texas. Cases that remain for trial
                                       following the Court’s Pretrial docket will be tried between
                                       July 31, 2023, and September 1, 2023. A specific trial date
                                       in this time frame will be selected at the Final Pretrial
                                       Conference.




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